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     Attorney(s) for Plaintiff Rothschild Broadcast Distribution Systems, LLC
 6

 7
                         IN THE UNITED STATES DISTRICT COURT
 8                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9    ROTHSCHILD BROADCAST
      DISTRIBUTION SYSTEMS,                     CIVIL ACTION NO. 5:21-cv-03117-
10    LLC,                                      NC
11                    Plaintiff,
12           v.                                 PLAINTIFF’S NOTICE OF
                                                PENDENCY OF OTHER
13    EPIGNOSIS, LLC d/b/a                      ACTION INVOLVING SAME
14    TALENTLMS,                                PATENT

15                    Defendant.
16
                      PLAINTIFF’S NOTICE OF PENDENCY OF OTHER
17                         ACTION INVOLVING SAME PATENT
18

19
             Pursuant to Patent Local Rule 2-1(a) Plaintiff Rothschild Broadcast Distribution

20
     Systems LLC (“Plaintiff” and/or “RBDS”) gives notice that this action is related to the

21
     following earlier filed actions pending in this District involving the same patent-in-suit

22
     filed within two (2) years of this case:

23
     1.      Rothschild Broadcast Distribution Systems LLC v. Nest Labs, Inc.; Case No.

24
             3:19-cv-1913-SK (N.D. Ca (San Francisco Division)) (filed April 9, 2019);

25
     2.      Rothschild Broadcast Distribution Systems LLC v. Manything Systems Limited;

26
             Case No. 4:19-cv-01917-YGR (N.D. Ca (Oakland Division)) (filed April 19,

27
             2019);

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              PLAINTIFF’S NOTICE OF PENDENCY OF OTHER ACTION INVOLVING SAME PATENT
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 1   3.      Rothschild Broadcast Distribution Systems LLC v. Blue Jeans Network, Inc.;
 2           Case No. 3:21-cv-02685-LB (N.D. Ca (San Francisco Division)) (filed April 14,
 3           2021); and
 4   4.      Rothschild Broadcast Distribution Systems LLC v. VIAAS, Inc.; Case No. 4:21-
 5           cv-01848-YGR ((N.D. Ca (San Jose Division)) (filed March 16, 2021).
 6

 7
     Dated: May 6, 2021                      Respectfully submitted,

 8                                           /s/ Stephen M. Lobbin
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14
                                             Distribution Systems, LLC
15

16                               CERTIFICATE OF SERVICE

17           I hereby certify that on May 6, 2021, I electronically filed the above document(s)

18   with the Clerk of Court using CM/ECF which will send electronic notification of such

19   filing(s) to all registered counsel.

20

21                                           /s/ Stephen M. Lobbin
                                             Stephen Lobbin
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              PLAINTIFF’S NOTICE OF PENDENCY OF OTHER ACTION INVOLVING SAME PATENT
